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                      EXHIBIT B
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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 PHILIP R. MCHUGH,                           )       Case No. 25-cv-01468
                                             )
                Movant,                      )       Honorable Steven C. Seeger
                                             )
          v.                                 )       Magistrate Judge Beth W. Jantz
                                             )
 RHR INTERNATIONAL LLP,                      )       Related to Philip R. McHugh v. Fifth Third
                                             )       Bancorp, et al., No. 1:21-cv-00238 (S.D.
                Respondent.                          Ohio)
                                             )

            RESPONDENT RHR INTERNATIONAL LLP’S RESPONSE TO
          PLAINTIFF’S MOTION TO COMPEL OUT OF STATE DISCOVERY
                   OR, IN THE ALTERNATIVE, TO TRANSFER

       Non-party RHR International LLP (“RHR”), a Delaware limited liability partnership, by

and through its undersigned counsel, in response to Plaintiff Philip R. McHugh’s Motion to

Compel Out of State Discovery Or, in the Alternative, to Transfer and Memorandum in Support

thereof (respectively, the “Motion” and “Pl’s Memo”), states as follows:

       INTRODUCTION

       This proceeding arises from an action pending in the Southern District of Ohio, filed by

Plaintiff Philip McHugh against Defendants Fifth Third Bancorp., Fifth Third Bank, and its former

President and Chief Executive Officer (“CEO”), Gregory Carmichael (hereinafter collectively

referred to as “Fifth Third” or the “Bank”). McHugh alleges that the Bank wrongfully denied him

a promotion due to his age when it promoted a younger employee, Timothy Spence, to succeed

Carmichael as CEO at the Bank. RHR is not a party to that case, but it has been the target of

McHugh’s abusive discovery tactics for the past three years, which now include two motions to

compel.

       RHR is a consulting firm composed of behavioral scientists and psychologists. Among

other services, RHR provides companies with executive leadership and development services for


                                                 1
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       RHR is a consulting firm composed of behavioral scientists and psychologists. Among

other services, RHR provides companies with executive leadership and development services for

senior personnel and management. In 2020—after Fifth Third and its Board of Directors (the

“Board”) identified Spence as the candidate for the Bank’s next CEO—the Bank engaged RHR to

provide these services with respect to Spence. As part of its engagement, RHR provided an

Executive Assessment and Development Report, which detailed Spence’s leadership strengths and

identified opportunities for development (the “RHR Report”). These findings were presented to

Fifth Third’s Board of Directors. Both the Board presentation and the RHR Report were produced

to McHugh in connection with this litigation, along with the other materials prepared by RHR that

were shared with the Bank or the Board in connection with RHR’s engagement. 1

       RHR was not engaged to assess McHugh or any other candidate, and no information about

McHugh was included in the RHR Report. See Pl’s Memo at 2 (acknowledging that “in June 2020,

Fifth Third directed that these assessments be limited to one candidate only – Spence . . . .”). 2

       McHugh previously moved to compel RHR to produce the documents sought by the

subpoena in the District Court for the Southern District of Ohio, where the action is pending. That

motion was denied on August 7, 2024, after the Court found that the motion should have been

brought in this Court, the home District of RHR. 3 The current motion seeks the production of three




1
  Despite this, the subpoenas and McHugh’s first motion to compel, as filed in the underlying case
in the Southern District of Ohio, demanded the production of 28 categories of documents,
including materials that McHugh had reason to know did not exist (RHR’s “assessment of
McHugh”) and materials he had already received from Fifth Third.
2
  No other individual was being considered. Ex. 1 (Ex. 3 to Affidavit of Joshua M. Smith, Esq. in
support of Plaintiff’s Motion to Compel Production of Documents Subpoenaed from RHR
International, LTD, Case No. 1:21-cv-00238 (S.D. Ohio filed Feb. 7, 2024) (Dkt. No. 40) (the
“First Motion to Compel”)).
3
  This order is sufficient grounds to deny McHugh’s alternative request to transfer the proceeding
to the District Court for the Southern District of Ohio.


                                                  2
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categories of documents: (1) documents “underlying” RHR’s assessment of Spence, such as

RHR’s internal notes from interviews and the raw scoring data of psychometric tools utilized in

assessing Spence; (2) documents relating to RHR’s 2015 assessment of Spence’s predecessor,

Gregory Carmichael; and (3) “any communications between RHR and Fifth Third between March

18, 2020 and June 24, 2020.” Pl’s Memo at 8. 4

       The motion should be denied in full on multiple grounds. The documents sought are not

relevant to McHugh’s age discrimination claim. In fact, because these internal RHR materials

were never provided to or shared with the Bank, they could not be the basis of any Bank decision.

Further, the materials contain the private, personal information of Spence and his coworkers at

Fifth Third, to whom promises of confidentiality were made to ensure their participation and

candor. And the requests—even limited as they now are—in total impose an undue burden on non-

party RHR and invade the privacy of the participants. The Motion should be denied.

       FACTUAL AND PROCEDURAL BACKGROUND

       A.      RHR International LLP

       Founded in 1945, RHR was the first company to apply behavioral science to organizational

leadership. 5 For 80 years, RHR has used its knowledge of human behavior to improve leader

effectiveness and organizational performance. Id. Among other services, RHR provides companies

with executive leadership and development services for senior personnel and management. 6



4
  RHR does not agree that any of these materials are the appropriate subject of discovery. However,
because the communications that comprise Category 3 do not contain personal, sensitive
information of any non-party, and in a further effort to reduce the issues before the Court, RHR
has agreed to produce the communications exchanged between Fifth Third and RHR from March
18, 2020 through June 24, 2020.
5
  See About Us, RHR INTERNATIONAL LLP, https://rhrinternational.com/about-us/#mission (last
visited April 14, 2025).
6
  Assessment, RHR INTERNATIONAL LLP, https://rhrinternational.com/leadership-assessment/ (last
visited April 14, 2025).


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       B.     RHR’s Assessment of Spence

       After Fifth Third identified Spence as its candidate for the Bank’s next CEO, it engaged

RHR to conduct an executive leadership assessment of Spence. See Ex. 2 to the Affidavit of Joshua

M. Smith, Esq. in Support of the First Motion to Compel (excerpts from deposition transcript of

former Chairman of the Board and CEO, Gregory Carmichael), attached hereto as Ex. 2. Although

multiple executes were initially considered, ultimately, RHR was only engaged to assess Spence.

See Ex. 1 at 300:17-21 (excerpts from deposition of Fifth Third’s former CEO and Board

Chairman, Greg Carmichael:



                                     )); see also Ex. 3 (Ex. 6 to the Affidavit of Joshua M. Smith,

Esq. in support of the First Motion to Compel (email from B. Shaffer to G. Carmichael dated June

8, 2020) (                                                                            )).

       As part of its engagement, RHR created a “CEO Profile” in collaboration with Fifth Third

personnel. Ex. 5 at 3. This profile was used by RHR to ensure that it had a full understanding of

the “cultural nuances, leadership behaviors, and skills” required of Fifth Third’s next President

and CEO. Id. Draft and final versions of the CEO Profile were produced by the Bank.

       Prior to performing its assessment, RHR assured Spence that it would respect the privacy

of his personal information and directed Spence to review and acknowledge RHR’s Privacy Policy.

See Ex. 4 (email from RHR to Spence dated June 22, 2020 which provided a link to the then-

current version of RHR’s Privacy Policy). RHR’s Privacy Policy expressly states that information

provided to RHR in connection with questionnaires and assessments will only be used for specific,

legitimate purposes (e.g., providing services, supporting clients, improving its website, and

conducting assessments) and that RHR will not disclose responses to anyone other than those

authorized in the Privacy Policy (e.g., “The client with whom we share your responses may be


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your employer or prospective employer. Except with respect to the provision of consulting and

advisory service, the information you provide will not be sold or rented to third parties.”). 7 These

obligations are legally binding on RHR. See F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236

(3d Cir. 2015).

       RHR’s assessment process uses a rigorous, objective approach that includes multiple

sources of data regarding the candidate. It includes a “360 review” (a process in which RHR

interviewed a variety of personnel at Fifth Third, including Spence’s peers and direct reports) and

a three-hour, in-person, structured, behavioral interview of Spence himself. Ex. 5 at 3. The

interviews were conducted with the guarantee that



FIFTHTHIRD-MCHUGH-005391 at 005393, attached hereto as Ex. 6 (draft email to interviewees

prepared by RHR); see also Group. Ex. 7 (as-sent emails to interviewees). In order to obtain

accurate feedback, it is imperative that the interviewees, which included Spence’s direct reports,

be guaranteed anonymity. And, indeed, RHR’s policy is to include in its deliverables only

aggregated information that can be attributed to three or more sources. RHR also performed a

career and track record benchmarking analysis of Spence’s experience. Ex. 5 at 3.

       The assessment also required Spence to respond to three widely-recognized online

psychometric and behavioral science instruments: the Hogan Insight Series Assessment Test, 8

which is a psychometric assessment of an individual’s strengths, performance risks, and core




7
  Privacy Policy, RHR INTERNATIONAL LLP, www.rhrinternational.com/privacy-policy/ (last
visited April 14, 2025).
8
  Insight Series, HOGAN ASSESSMENTS, https://www.hoganassessments.com/products/insight-
series/ (last visited on April 14, 2025).


                                                 5
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values to help emerging managers develop strategic self-awareness; the Watson-Glaser test, 9

which evaluates an individual’s critical thinking skills and evaluates a person’s ability to identify

assumptions, dissect arguments, and draw conclusions; and Raven’s Advanced Progressive

Matrices, 10 a nonverbal test used in measuring abstract reasoning and regarded as a non-verbal

estimate of fluid intelligence. These diagnostic tools pose a standard set of questions to the

individual which are analyzed and scored by a third party. RHR did not share the results or

Spence’s responses to the test questions with Fifth Third or anyone else, including Spence.

       After completing the assessment, RHR prepared two documents for Fifth Third’s

management: the RHR Report, which analyzed these inputs against the CEO Profile and high-

level, anonymized results from the stakeholder interviews that RHR performed (see Ex. 8) and a

“Board Summary” of that report that was presented to the Board of Directors (the “Deliverables”).

(Ex. 9). As noted above, these documents have already been produced in this litigation.

       The Deliverables (Exhibits 8 and 9) include only aggregated, non-detailed summaries of

the test results and do not attribute any comment to any interviewee. Nor did RHR share its notes,

or any other underlying materials, regarding its assessment with the Bank. This is by design and

in accordance with applicable ethical standards. Due to the sensitive nature of psychological

assessments and interviews, anonymity is required in order to protect the interviewees and the

integrity of the assessment. Consistent with these principles, the agreement between Fifth Third




9
        Watson-Glaser       Critical      Thinking      Appraisal        III,        PEARSON,
https://www.pearson.com/asia/industry/human-resources/watson-glaser.html (last visited on April
14, 2025).
10
          All      Professional       Assessments       by        Acronym,           PEARSON,
https://www.pearsonassessments.com/professional-assessments/products/products-by-
acronym.html (click “APM (Raven’s Advanced Progressive Matrices)” hyperlink) (last visited
April 14, 2025).


                                                 6
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and RHR anticipated and acknowledged that there would be information that RHR collected in

connection with its assessments that it would not share with the Company:

               The Company [Fifth Third] acknowledges that RHR may not, as a
               matter of law or professional responsibility, be able to disclose
               certain Personal Information to the Company. RHR shall not be
               obligated to provide such information to the Company or include
               such information in any Deliverable.

See Ex. 10 at ¶ 5 (the Business Terms agreement entered into between RHR and Fifth Third). The

Business Terms also provide, in paragraph 2, that confidential information obtained by RHR “may

not be disclosed except in compliance with applicable laws, regulations and industry or

professional standards,” and that RHR “shall not be obligated to provide . . . [personal information]

. . . to the Company or include such information in any Deliverable.” Id. at ¶¶ 2, 5.

       C.      The Subpoenas and Proceedings in the Southern District of Ohio

       The instant subpoena is the third served on RHR by McHugh. Two prior subpoenas, both

of which were the subject of the First Motion to Compel, were served on April 1, 2022 and a year

later, on April 21, 2023. See Dkt. Nos. 4-2, 4-5 (Exhibits 1 & 4, respectively, to the Declaration of

Joshua M. Smith, Esq., Dkt. No. 4 (“Smith Decl.”), submitted in support of the instant motion).

McHugh’s counsel filed a motion to compel RHR to produce the documents sought in the two

subpoenas on February 7, 2024, nearly two years after issuing its first subpoena. The motion was

filed in the Southern District of Ohio rather than the Northern District of Illinois, in which RHR is

located. Following briefing, on August 7, 2024 the Southern District of Ohio concluded that it

“lacks authority to rule on the merits” of McHugh’s motion to compel. Ex. 11. McHugh then

served the third subpoena on RHR, requesting the same documents it previously sought. See Dkt.

No. 1-1. Months later, following conferral, McHugh’s counsel filed the motion to compel now

pending before this Court.




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       LEGAL STANDARD

       As McHugh concedes, Rule 45 limits discovery to “non-privileged matter that is relevant

to any party’s claim or defense and proportional to the needs of the case.” Pl’s Memo at 6 (citing

FireBlok IP Holdings, LLC v. Hilti, Inc., No. 19 CV 50122, 2021 U.S Dist. LEXIS 221225, at *4

(N.D. Ill. Aug. 10, 2021)). Rule 45 specifically authorizes a Court to quash or modify a subpoena

that “requires disclosure of privileged or other protected matter” or which “subjects a person to

undue burden,” FED. R. CIV. P. 45(d)(3)(A)(i), (iv), and courts are particularly sensitive to the

burdens of discovery placed on non-parties. See, e.g., Cruz v. Guevara, Case No.23 C 4268, 2024

WL 4449944, at *5 (N.D. Ill. Oct. 9, 2024) (“courts give special weight to the unwanted burdens

thrust upon non-parties when balancing competing needs”). The party who moves to compel

“bear[s] the burden of persuasion on [its] motion.” Whitlow v. Martin, No. 04–3211, 2008 WL

2414830, at *4 (C.D. Ill. June 12, 2008); see also Ty, Inc. v. Salvino, Inc., No. 98 C 6318, 1999

WL 162774, at *1 (N.D. Ill. Mar. 16, 1999) (same).

       ARGUMENT

       Though the instant motion to compel is more limited than his First Motion to Compel,

McHugh’s requests are no more reasonable. McHugh’s remaining demands seek: (1) the

documents underlying RHR’s assessment of Spence and (2) documents related to an assessment

performed by RHR of Spence’s predecessor in 2015. Only relevant and non-privileged materials

are subject to discovery, and then only where the discovery is not unduly burdensome. Jones v.

Nat’l Council of Young Men’s Christian Assocs. of U.S., No. 09 C 6437, 2011 WL 1312162 at *2

(N.D. Ill. Mar. 31, 2011). McHugh’s demands fail to meet this standard, and the Court should deny

McHugh’s Motion for each of the following reasons: the documents sought are not relevant to

McHugh’s age discrimination claim; the materials contain the private, personal information of




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third parties to whom RHR owes duties of privacy and confidentiality; and the requests—even

limited as they now are—in total impose an undue burden on a non-party.

         A.     McHugh Seeks Materials Not Relevant to the Dispute

         Under Rule 26, the discovery sought must be relevant, and relevance “focuses on the claims

and defenses in the case, not its general subject matter.” Motorola Solutions, Inc. v. Hytera

Commc’ns Corp., 365 F. Supp. 3d 916, 924 (N.D. Ill. 2019). To succeed on his age discrimination

claim against Fifth Third, McHugh “has ‘the burden of persuasion to demonstrate by a

preponderance of the evidence . . . that age was the but-for cause of the challenged employer

decision.’” Carter v. City of Troy, Ohio, 714 F. Supp. 3d 941, 952 (S.D. Ohio 2024) (quoting

Willard v. Huntington Ford, Inc., 952 F.3d 795, 806 (6th Cir. 2020); Gross v. FBL Fin. Servs.,

Inc., 557 U.S. 167, 177-78 (2007)). 11 The materials McHugh seeks were never produced or

otherwise reviewed by the Bank and do not have any relevance to his alleged claim of age

discrimination. RHR’s documents, those that have not been already produced in this litigation, are

not probative of this inquiry for several reasons.

         First, all of RHR’s materials that were shared with the Bank, including all materials

provided to the Board, were produced long ago. These are the only RHR materials that could have

been a part of the Board’s decision-making process. These materials include the draft and final

versions of RHR’s proposals, the CEO Profile, the RHR Report, and the presentation to the Board.

The materials that have not been produced (i.e., internal preliminary drafts of the RHR Report,12

RHR’s notes from interviews of the candidate and his colleagues, and scoring from the

psychometric tools) shed no light on the Board’s process or deliberations because the Board never


11
   We apply the Sixth Circuit’s case law on this point because the case in controversy between
McHugh and Fifth Third will be decided within that jurisdiction.
12
   These versions of the RHR Report (that were not shared with the Bank) were incomplete and
had not yet undergone RHR’s internal quality assurance processes.


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had access to and could not consider such materials. Here, the only relevant information at issue

is what was actually shared with Fifth Third by RHR and thus could have been used by the Board

in its decision-making.

        Second, these materials are not relevant to McHugh’s claim because they do not address

the qualifications of McHugh at all. RHR did not evaluate candidates other than Spence. Pl’s.

Memo at 2 (“Fifth Third directed that these assessments be limited to one candidate only—Spence

. . . .”). Nevertheless, McHugh claims that he needs these documents to “compare Spence’s

qualifications to those of an older, long-tenured executive . . . .” Pl’s Memo at 9. There is no

comparison that can be made between Spence and McHugh from RHR’s notes, non-final drafts of

the Deliverables, or the raw data from the psychometric tests of Spence because McHugh wasn’t

assessed and RHR has no comparable data.

       McHugh’s demands for documents relating to RHR’s assessment of Carmichael is even

further afield. In 2020, Carmichael was not a candidate for the position McHugh claims he was

wrongly denied. While RHR performed an assessment of Carmichael using a similar process in

2015, it was performed in connection with a separate search at a different time, under different

circumstances, and, most importantly, by a completely different Board of Directors. The needs,

priorities, and goals of Fifth Third in 2015 were different from its needs in mid-2020, three months

into a global pandemic. But even if that were not the case, the fact is that the assessment of

Carmichael and data collected by RHR in connection with that assessment have nothing to do with

McHugh or the Bank’s decision to promote Spence in 2020.

       Third, McHugh claims that he needs the work papers from Spence’s assessment “for

purposes of verifying the accuracy of such an assessment . . . .” (Pl’s Memo at 9) is not availing

here. There is no reason to believe that the RHR Report contains any inaccuracies, much less any




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inaccuracy that would have any bearing on McHugh’s claim for age discrimination, nor has

McHugh made any such allegation. This is no more than a fishing expedition, and “[t]he Seventh

Circuit has made clear that discovery is not to be used as a fishing expedition to see what may turn

up.” Autotech Techs, Ltd. P’ship v. Automationdirect.com, Inc., No. 05 C 5488, 2007 WL 2746654,

at *4 (N.D. Ill. Sept. 18, 2007) (citing EEOC v. Harvey L. Walner & Assocs., 91 F.3d 963, 971

(7th Cir. 1996)).

       This argument also misconstrues the type of information that is probative of an age

discrimination claim. In adjudicating McHugh’s claim, the Court will not play “Monday morning

quarterback” to the Board’s business decision to promote Spence absent evidence of

discriminatory intent. See McQueen v. Barr, 782 Fed. App’x. 459, 463 (6th Cir. 2019) (“In

conducting a comparison of the candidates’ qualifications, [courts] do not substitute [their]

judgment for that of management. Instead, [courts] ‘simply compare characteristics such as

differences in job title, responsibilities, experience, and work record,’ in order to make an informed

determination       regarding   whether      an    employment       decision     was     based     on

pretext.”) (quoting Hawkins v. Memphis Light Gas and Water, 520 Fed. App’x 316, 320 (6th Cir.

2013)). None of the documents sought (RHR’s work papers or Carmichael’s 2015 assessment)

speak to whether the Board’s decision was based on discriminatory intent because, to the extent

that the Board relied on RHR’s findings, it could not rely on materials it never received from RHR

or considered in 2020.

       For each of these reasons, the documents sought from RHR are irrelevant, warranting the

denial of the Motion.




                                                  11
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         B.      The Materials Contain Private, Confidential Information Protected from
                 Disclosure and Places an Undue Burden on RHR and Non-Parties

         Even if McHugh had met his burden in establishing the relevance of the documents he

seeks from RHR (see Ty, Inc., 1999 WL 162774 at *1), McHugh’s need for the documents must

be balanced against the danger of unfair prejudice, confusion of the issues, and wasting time,13

among other concerns. Fed. R. Evid. 403. The materials sought in the subpoenas—those that have

not already been produced by Fifth Third—are comprised of personal, private information which

should be protected from disclosure and the Motion should be denied for this additional reason.

See FED. R. CIV. P. 45 at Adv. Comm. Notes to 1991 Amend. (Rule 45(c)(3)(B)(i) authorizes

federal courts to quash subpoenas because Rule 45 is intended “to protect the person subject to or

affected by the subpoena from unnecessary or unduly harmful disclosures of confidential

information”).

         McHugh’s demands infringe upon the privacy rights of the individuals involved. RHR’s

Privacy Policy expressly states that information provided to RHR in connection with

questionnaires and assessments will only be used for specific, legitimate purposes (e.g., providing

services, supporting clients, improving its website, and conducting assessments) and that RHR will

not disclose responses to anyone other than those authorized in the Privacy Policy (e.g., “The client

with whom we share your responses may be your employer or prospective employer. Except with

respect to the provision of consulting and advisory service, the information you provide will not




13
   Even if RHR were required to produce its notes from interviews with third parties, Rule 801 of
the Federal Rules of Evidence would render any such documents inadmissible, as they constitute
double hearsay (e.g., RHR’s written statement regarding what it was told about Spence by an
employee of Fifth Third). See White v. Ohio, 2 Fed. App’x 453, 459 (6th Cir. 2001) (co-worker’s
testimony that supervisor had told her of comment he had overhead from another supervisor was
inadmissible).


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be sold or rented to third parties.”). 14 These promises of confidentiality, and, in the case of

employees other than Spence, anonymity (see Group Ex. 7; see also Exs. 4, 6), are legally binding

on RHR. See F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015). Spence’s direct

reports had a right to rely on these representations when providing fulsome, honest feedback about

their boss.

         Consistent with these obligations, Illinois statutes protect against the disclosure of an

employee’s sensitive personal information to other employees. The Illinois Personal Record

Review Act entitles an employee to inspect, copy, and receive documents used in determining an

employee’s “qualifications for employment, promotion . . . compensation, [and] benefits.” 820

ILCS 40/2(a). However, the statute expressly exempts from disclosure “[i]nformation of a personal

nature about a person other than the employee if disclosure of the information would constitute a

clearly unwarranted invasion of the other person’s privacy.” 820 ILCS 40/10(d). Further, the Act

prohibits an employee from inspecting his own records if they fall into certain categories, including

“portion[s] of a test document, except that the employee may see a cumulative total test score for

either a section of or the entire test document” and “information of a personal nature about a person

other than the employee if disclosure of the information would constitute a clearly unwarranted

invasion of the other person's privacy.” 820 ILCS 40/10(b),(d). Under this Act, even Spence could

not require the disclosure of the sort of the information that McHugh is seeking here. McHugh

should not have greater rights to access this information than Spence does, nor should he be

allowed to circumvent such limitations through a subpoena.




14
   Privacy Policy, RHR INTERNATIONAL LLP, www.rhrinternational.com/privacy-policy/ (last
visited April 14, 2025).



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        Further, RHR’s notes and data are also protected by the therapist-patient privilege

recognized in Jaffee v. Redmond, 518 U.S. 1, 15-17 (1996). In Jaffee, the Court held that

conversations that took place between a Village of Hoffman Estates police officer and a clinical

social worker employed by the Village, as well as the notes from these sessions, were protected

from disclosure. Id. In so holding, the Court observed that Rule 501 of the Federal Rules of

Evidence “authorizes federal courts to define new privileges by interpreting ‘common law

principles . . . in the light of reason and experience” (id. at 8), and concluded that “a privilege

protecting confidential communications between a psychotherapist and her patient ‘promotes

sufficiently important interests to outweigh the need for probative evidence . . . .’” Id. at 9-10

(quoting Trammel v. U.S., 445 U.S. 40, 51 (1990)). In reaching this conclusion, the Court observed

that all 50 States and the District of Columbia have enacted laws recognizing a psychotherapist

privilege. Id. at 12.

        Here, McHugh is seeking private information of individuals that RHR did not share with

Fifth Third. In order to protect the confidentiality of the interviewees and the integrity of RHR’s

assessment, RHR does not provide the information sought by McHugh to its clients. In fact, the

agreement between Fifth Third and RHR explicitly contemplated that there would be information

that RHR could not share with Fifth Third “as a matter of law or professional responsibility.” See

Ex. 10 at ¶ 5 (“The Company acknowledges that RHR may not, as a matter of law or professional

responsibility, be able to disclose certain Personal Information to the Company. RHR shall not be

obligated to provide such information to the Company or include such information in any

Deliverable.”). In contrast, the materials that were shared with Fifth Third (and subsequently

produced to McHugh) contain only RHR’s findings based on aggregated data relating to the

leadership style and capabilities of Spence, and not any other employee’s private information.




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        Neither Spence nor the other Fifth Third employees interviewed are parties to this litigation

or accused of any wrongdoing. The assessment performed by RHR depends on candid disclosures

from Spence, his coworkers, and his direct reports. McHugh has not provided any justification for

the disclosure of the sensitive third-party information gathered by RHR that was not even shared

with Fifth Third. Revealing these statements, made in confidence and in reliance of representations

of their confidentiality, would be harmful and toxic to the workplace. The harm that could result

to these individuals renders McHugh’s requests disproportionate to the needs of the case. See FED.

RULE CIV. P. 45(d)(3)(B)(i). McHugh’s Motion should be denied.

        CONCLUSION

        McHugh has not established the relevance of the materials he seeks, and should not be

allowed to access highly sensitive information irrelevant to his claims. Moreover, he has not shown

that any probative interest these materials might provide outweigh the interests of non-parties in

nondisclosure or the burden that disclosure of this information would place on them and RHR.

        Pursuant to Rule 37(a)(5)(B), RHR respectfully requests an order from the Court directing

McHugh to pay the expenses incurred by RHR in responding to his Motion. The Motion is

groundless, and RHR has been required to expend substantial resources and expenses in

responding to two separate motions to compel. An order requiring McHugh to pay RHR’s

reasonable attorneys’ fees is appropriate under the circumstances of this case. See Autotech Techs.,

2007 WL 2746654 at *6 (“fee shifting encourages voluntary resolution of disputes and curtails the

ability of litigants to use legal processes to heap detriments on adversaries (or third parties) without

regard to the merits of the claim”).

        For the foregoing reasons, RHR International LLP respectfully requests that the Court deny

McHugh’s Motion to Compel, award RHR International LLP the attorneys’ fees and costs incurred

in responding to the Motion, and for any additional relief the Court deem just and proper.


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Dated: April 15, 2025                        Respectfully submitted,

                                             By: /s/ Nicole C. Mueller
                                             Nicole C. Mueller
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                                             Christopher A. Bloom
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                                             Fax: (312) 827-8000

                                             Attorneys for Respondent
                                             RHR INTERNATIONAL LLP




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

with the Clerk of Court via the Court’s CM/ECF system on April 15, 2025, which will serve all

counsel of record.


                                           By:    /s/Nicole C. Mueller
                                                  Nicole C. Mueller




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                   EXHIBIT 1
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                   EXHIBIT 2
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                   EXHIBIT 3
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                   EXHIBIT 4
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                   EXHIBIT 5
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                   EXHIBIT 6
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                   EXHIBIT 7
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                   EXHIBIT 8
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                   EXHIBIT 9
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                         EXHIBIT 10
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 Contract No. 62610
                                              RHR International LLP
                                               BUSINESS TERMS
RHR International LLP {"RHR") shall provide business consulting services to Fifth Third Bank (the "Company") on the
following terms and conditions:

1. Services. RHR shall provide services, including               including any copyrights, patent and other intellectual
specified Deliverables, as requested by the Company and          property rights with respect to anything that RHR may
agreed to by RHR to assist the Company (the "Services").         discover, create or develop during RHR's provision of the
RHR shall be responsible for the Services and                    Services to Company.
Deliverables only to the extent expressly agreed to
                                                                 4. Nature of Services. The Services provided by RHR
between the Company and RHR.
                                                                 and RHR Consultants are to be provided to and for the
2. Confidentiality. In connection with the Services, RHR         benefit of the Company. Any advice, recommendations or
and the Company each shall have access to confidential            Deliverables provided to the Company by RHR is for the
business information made available by the other. Each           sole benefit and use of the Company and may not be
party shall protect such confidential business information       relied upon or used by any third party.          Company
in the same manner as it protects its own confidential           acknowledges that any advice or recommendations
business information of like kind, and shall not disclose or     provided to Company by RHR in connection with this
use such confidential business information, except to the        engagement are based on the information available to
extent reasonably required for the performance of the            RHR at the time. Decisions based upon such advice or
Services; provided, however, that these provisions shall         recommendations are matters in the sole discretion of the
not apply to: (i) information previously known to the            Company. The outcome of such decisions is based upon
receiving party; {ii) information which is or has become         many factors and RHR does not guarantee any specific
available to the public in general through no fault of or        result or outcome. In connection with its Services, RHR
breach of an agreement by the receiving party; (iii)             Consultants may administer to Company Personnel certain
information received from a third party not subject to any       psychometric preference and other questionnaires, tests
confidentiality obligations; or (iv) information which is        and instruments, which shall be used solely to assist RHR
independently developed by the receiving party.                  in providing advice for the benefit of the Company. RHR
Confidential information contained in Deliverables may not       does not provide direct psychological or counseling
be disclosed except in compliance with applicable laws,          services to any individual, including Company Personnel.
regulations and industry or professional standards.
                                                                 5.     Personal Information and Disclosure of Certain
3. Deliverables. Upon payment of all amounts due for the         Information. In connection with the provision of Services,
Services, the Company shall have the right to use the            RHR, its affiliates and contractors may receive information
 Deliverables in connection with its business consistent with    concerning Company Personnel, including personal data
the intended purpose of the Services. Any proprietary            about individuals {"Personal Information").           Certain
 information contained in the Deliverables that is owned by      information may be covered by the European Data
the Company shall remain owned solely and exclusively by         Protection Directive and other applicable laws and the
the Company.         To the extent the Services and              Company consents to the transfer of such information to
 Deliverables to the Company contain RHR's proprietary           countries outside of the European Economic Area ("EEA"),
information, including report formats and templates used to      including to offices of RHR its affiliates and contractors as
convey the Deliverables, upon payment of all amounts due         well as offices of the Company and its affiliates located
for the Services, RHR grants the Company a non­                  outside of the EEA. The Company shall comply with the
exclusive, non-assignable license to use such proprietary        European Data Protection Directive and other applicable
information within the Company for such purposes. Any            laws with respect to such information, including respecting
other use or use other than by the Company of the                and maintaining the confidentiality and security of the
Deliverables shall require RHR's express, prior written          Personal Information. The Company further acknowledges
consent. Any Deliverable including an assessment of an           that RHR may not, as a matter of law or professional
individual may not be used more than three (3) years after       responsibility, be able to disclose certain Personal
delivery without RHR's express written permission. Use of        lnformatio□ to the Company. RHR shall not be obligated
any other Deliverable is subject to any shelf life restriction   to provide such information to the Company or include
stated in the Deliverable.                                       such information in any Deliverable. RHR may engage
Subject to the foregoing, the Company acknowledges that          contractors for the purpose of processing certain of the
RHR shall own all right, title and interest to all of RHR's      data that is collected. Provided information is aggregated
business and consulting methodologies, business                  and does not identify a named individual or the Company,
methods, concepts, know-how, analytical frameworks,              the Company consents to the use by RHR of any
work papers, report formats and templates, databases,            information obtained by RHR in connection with its
analytical approaches and information, whether developed         Services in the ordinary course of its business and for
before, during the term of these Services or thereafter,         research and statistical purposes, as long as such data is
                                                                 not attributed to a named individual or the Company.
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6. Fees and Payment. The Company shall be responsible               Services, provided that the Company provides notice
for reasonable out-of-pocket expenses of RHR as well as             within sixty (60) days after such Services are performed or,
for all applicable sales, use, excise, value added and other        with respect to a Deliverable, within sixty (60} days after
taxes associated with the provision or receipt of the               Company receipt of the Deliverable. The notice shall
Services, excluding taxes on RHR's income generally.                specify and detail the non-conformance and, if the parties
Fees for Services not originally agreed to shall be in              agree that a non-conformance exists, RHR shall have a
accordance with RHR's regular rates. RHR shall bill the             reasonable amount of time, based on its severity and
Company at the completion of each activity or monthly,              complexity, to correct the non-conformance. In the event
whichever is sooner. Payment is due upon receipt of the             Company does not provide such notice within the sixty
invoice. Invoices more than 30 days overdue will incur              (60) day period, any claim with respect to such non­
interest at rate of 1 % interest per month.                         conformance shall be deemed waived. In the event RHR
                                                                    is asked to re-perform any work and it is subsequently
RHR's fees shall be based on the cooperation of the                 determined that RHR has already met its obligations under
Company with RHR and RHR Consultants.                  If the       these Business Terms, the Company shall pay RHR on a
Company cancels a meeting within less than 48 hours                 time and materials basis at RHR's regular rates for time
written or oral notice, RHR reserves the right to charge for        spent on such additional work.
the additional time of its RHR Consultant at regular rates.
The Company also acknowledges that the Company's                    THE UNDERTAKING IN THIS PARAGRAPH IS RHR'S
delay in delivering information to RHR may affect the               ONL Y WARRANTY CONCERNING THE SERVICES AND
delivery time of the Services. RHR reserves the right to            ANY DELIVERABLES, AND IS EXPRESSLY IN LIEU OF
decline additional work if information is not provided by the       ALL OTHER WARRANTIES AND REPRESENTATIONS,
Company in a timely manner and to suspend Services                  EXPRESS OR IMPLIED, INCLUDING ANY IMPLIED
altogether if the practice persists.                                WARRANTIES OF MERCHANTABILITY OR FITNESS
                                                                    FOR A PARTICULAR PURPOSE.
7. Staffing. RHR is committed to providing competent
RHR Consultants to perform the Services. If the Company             11. Indemnification. RHR shall indemnify, defend and hold
requests specific individuals, RHR shall endeavor to honor          the Company, its employees and agents harmless from
such requests, however the decision with respect to the             and against any claims, suits or causes of action (including
assignment of any individual RHR Consultant shall remain            reasonable attorneys' fees) arising out of the negligent or
with RHR. If RHR reassigns any RHR Consultant who is                willful acts of RHR in connection with the performance of
providing Services, RHR shall inform the Company and                the Services or infringement by RHR of any third party's
endeavor to mitigate the impact of such reassignment.               intellectual property by any Deliverable provided under this
                                                                    Agreement. The foregoing indemnification will not apply to
The Company shall not employ or solicit the employment              the extent any infringement results from: (i} the use of the
of any RHR Consultant who performed any Services while              Deliverables other than in accordance with the terms of
such Services are being provided and for a period of three          this Agreement and any applicable documentation or
(3) years thereafter. In addition to any other remedies, in         instructions supplied by RHR; (ii) any modification to the
the event the Company hires an RHR Consultant who                   Deliverables not expressly agreed to in writing by RHR; or
performed such Services, the Company shall pay RHR as               (iii) the combination of the Deliverables with any materials
liquidated damages an amount equal to the total                     not provided or expressly approved by RHR.
compensation for the one-year period immediately
preceding the hiring of such RHR Consultant.                        The Company shall indemnify, defend and hold RHR, RHR
                                                                    Consultants, and RHR's employees and agents harmless
8. Subcontractors. To the extent RHR in its discretion              from and against any claims, suits or causes of action
engages any subcontractor in connection with the                    (including reasonable attorneys' fees} arising out of
Services, RHR shall be responsible for the Services                 Company's actions, including any use of any Deliverables,
provided by and payment due to such subcontractors.                 except to the extent such claim is covered by the
RHR shall require that any subcontractor shall maintain all         preceding subparagraph.
Company information confidential on terms no less
restrictive than the confidentiality provisions set forth in        If either party learns of an actual or potential claim for
these Business Terms.                                               which it may seek indemnification under this Paragraph, it
                                                                    shall promptly notify the other party. The indemnifying
9. Terms of Use. In connection with the provision of                party shall have the right to assume control over the
Services, RHR may provide the Company with access to                defense of, settlement of, and selection of counsel for such
specific analytic tools and systems, including proprietary          claim or proceeding. The indemnified party shall cooperate
software, databases, tracking systems, and websites,                with the indemnifying party, its insurers and its counsel in
which are governed by separate or additional terms of use.          contesting any claim or proceeding. The indemnified party
The Company shall comply with any applicable terms of               at its cost and expense may participate in, but not control,
use and restrictions.                                               any such defense. Except for a settlement involving only a
10. Warranty. RHR warrants that the Services shall be               cash payment, the indemnifying party shall not agree to
performed with reasonable care in a diligent and                    any settlement of any claim or suit without the prior written
competent manner.    RHR's sole obligation shall be to              approval of the indemnified party, which approval shall not
correct any non-conformance with this warranty or, at               be unreasonably withheld.
RHR's election refund the fees paid for the applicable
                                                                2
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 12. Limitations on Liability. EXCEPT WITH RESPECT TO                Consultants, including workers' compensation, disability
THE INDEMNITIES IN PARAGRAPH 11, IN NO EVENT                         benefits and unemployment insurance, and for withholding
SHALL EITHER PARTY BE LIABLE TO THE OTHER                            and remitting any local, state or federal payroll-related
 FOR       CONSEQUENTIAL,         INDIRECT,     SPECIAL,             taxes or assessments related to performance of the
INCIDENTAL OR SIMILAR DAMAGES. RHR's aggregate                       Services. RHR may identify Company as a client and
maximum liability relating to the Services under these               include a general description of the services provided by
Business Terms (regardless of form of action, whether in             RHR to Company (e.g., Chair Succession) in RHR's client
contract, negligence or otherwise) shall be limited to the           lists, marketing presentations and promotional materials,
compensation paid to RHR for Services in the 12-month                provided that RHR does not reveal specific details about,
period immediately preceding the event giving rise to                or the participants of the engagement.
liability.
                                                                     (c) No rights, benefits, or claims are conferred upon any
                                                                     person or entity not a party to these Business Terms or
13. Termination. (a) Either party may, upon giving not less
than thirty (30) days prior notice to the other, terminate           any agreement between RHR and the Company to provide
                                                                     Services. In the event the Company chooses to directly
Services.
                                                                     engage other contractors, RHR shall not be responsible for
(b) RHR may at its option suspend Services or terminate              the performance of such contractors, even if RHR has
Services immediately upon notice in the event the                    been involved in recommending or selecting such
Company fails to pay any payments due to RHR within the              contractors or in otherwise reviewing such third party's
prescribed period of time.                                           work.
(c) In the event of termination of Services, RHR shall take          (d) If RHR is the subject of a subpoena or is requested to
all reasonable efforts to properly transition the client             testify or otherwise becomes similarly involved (other than
relationship to another service provider. The Company                as a party) in any legal proceeding which arises out of or
shall pay RHR for all Services rendered, expenses                    relates to RHR's performance of Services pursuant to
incurred or commitments made by RHR prior to the date of             these Business Terms, the Company agrees to reimburse
termination, and shall reimburse RHR for all reasonable              RHR for all costs incurred by RHR (including attorneys'
costs associated with any termination.                               fees and the time of RHR Consultants at regular rates) in
                                                                     connection with such proceeding.
(d) Either party may upon notice terminate these Business
Terms provided such termination shall not be effective with          (e) Neither party shall be liable or responsible by reason
respect to any agreement to provide Services entered into            of any failure or delay in the performance of its obligations
prior to such notice.                                                (except for the payment of money) on account of strikes,
                                                                     shortages, riots, insurrection, fires, flood, storm,
14. Miscellaneous.
                                                                     explosions, acts of God, war, governmental action, labor
(a) All notices, demands, or other communications given              conditions, earthquakes, or any other cause which is
or made under these Business Terms shall be in writing,              beyond the reasonable control of such party.
unless noted otherwise, and shall be effective: (i) upon
                                                                     (f) The parties may correspond or convey documentation
delivery if delivered in person: (ii) five (5) business days
                                                                     via electronic mail, which has inherent limitations, including
after deposit in the regular mail, addressed to the recipient,
                                                                     issues of performance, reliability, availability and security.
postage prepaid and registered or certified with return
                                                                     Neither party shall be liable for any loss, damage,
receipt requested; (iii) one (1) business day after deposit          expense, harm or inconvenience resulting from the loss,
with an express mail or overnight courier service, provided
                                                                     delay, interception, corruption, or alteration of any
that confirmation of such delivery is received; and (iv) if
                                                                     electronic mail due to any reason beyond that party's
given or made by fax, when dispatched subject to receipt
                                                                     reasonable control.
of a machine-printed confirmation of error-free dispatch,
and upon transmission if sent via electronic mail, provided          (g)    Each party acknowledges that breach of these
that a confirmation copy is sent via express mail or                 Business Terms by the other party may result in
overnight courier service and confirmation of such delivery          irreparable harm, the extent of which would be difficult or
is received.        Such notices, demands, or other                  impracticable to assess, and that money damages would
communications shall be sent to each party at the mailing            not be an adequate remedy for such breach. Accordingly,
addresses or facsimile numbers indicated below. Any                  either party shall be entitled to seek immediate injunctive
party may change its address or other notice information             and other provisional relief with respect to such breach
by providing the other party with notice in accordance with          without prejudice to any such other remedies.
this Paragraph.
                                                                     (h) These Business Terms and any agreement between
(b) The relationship between the parties is that of                  RHR and the Company to provide Services shall be
independent contractors, and nothing in these Business               governed in all respects by the laws of the State of Illinois
Terms is intended to, or should be construed to, create a            without regard to conflicts of laws rules.
partnership, agency, joint venture or employment
                                                                     (i) Each party consents to the jurisdiction of the relevant
relationship. Neither party is authorized to make any
                                                                     court of Illinois for any legal action, suit, or proceeding
representations, contracts or commitment on behalf of the
                                                                     arising under or relating to these Business Terms or any
other. RHR assumes full and sole responsibility for the
                                                                     agreement between RHR and the Company to provide
payment of all compensation and expenses (including
                                                                     Services and agrees that any such action, suit, or
payment of employment benefits, if any) of RHR
                                                                 3
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   proceeding may be brought only in such courts. Each               degree shall remain in full force and effect to the extent not
   party further waives any objection to the laying of venue         held invalid or unenforceable.
   for any such suit, action, or proceeding in such courts or
                                                                     (I) The rights and remedies of the parties are cumulative
   for the purpose of enforcing any such decisions or rulings.
                                                                     and not alternative. Neither the failure nor delay by any
   U) The Paragraph headings in these Business Terms are             party in exercising any right, power, or privilege, and no
   provided for convenience only and shall not affect its            single or partial exercise of any such power, right, or
   construction or interpretation.        All references to          privilege shall preclude any other or further exercise of
   "Paragraph" or "Paragraphs" refer to the corresponding            such or any other power, right or privilege. Any waiver or
   Paragraph or Paragraphs of these Business Terms.                  consent shall be in writing signed by the party granting
   Whenever the context may require, any pronoun includes            such waiver or consent.
   the corresponding masculine, feminine and neuter forms.
                                                                     (m) These Business Terms or any agreement between
   Words in the singular or plural include the plural or the
                                                                     RHR and the Company to provide Services may not be
   singular, as the case may be. The words "include",
                                                                     assigned or transferred (including any transfer by
   "includes" and "including" shall be deemed to be followed
                                                                     operation of law) by either party without the written
   by the phrase "without limitation".      Unless otherwise
                                                                     consent of the other party.
   expressly stated in any written agreement between RHR
   and the Company to provide Services, these Business               (n) These Business Terms and any agreement between
   Terms shall be deemed incorporated into and made a part           RHR and the Company to provide Services shall be
   of any agreement between RHR and the Company. In the              binding upon and shall inure to the benefit of the parties,
   event of any conflict between the terms set forth in any          their affiliates, and their respective successors and
   agreement between RHR and the Company to provide                  permitted assigns.
   Services and these Business Terms, these Business
   Terms shall control. The following capitalized terms shall        (o) The rights and obligations that by their nature should
   have the following meanings:                                      survive or extend beyond the termination or expiration of
                                                                     these Business Terms or any agreement between RHR
   "Company Personnel" shall mean any employee,                      and the Company to provide Services shall survive any
   prospective employee or agent of the Company.                     termination or expiration of these Business Terms or such
                                                                     agreement.
    "Deliverables" shall mean any written report, analysis or
   other tangible embodiment of advice that RHR delivers to          (p) These Business Terms supersede all prior and
   the Company.                                                      contemporaneous       communications,      proposals    or
                                                                     agreements between the parties, oral or written. No
   "RHR Consultant" shall mean any consultant, employee,
                                                                     changes, amendments or modifications of these Business
   agent or contractor of RHR.
                                                                     Terms are valid or binding upon the parties unless made in
   (k) If any court of competent jurisdiction shall hold any         writing and manually signed by a duly authorized
   part of these Business Terms or any agreement between             representative of each party.
   RHR and the Company to provide Services invalid or
                                                                     (q) These Business Terms may be executed in one or
   unenforceable, the other provisions of these Business
                                                                     more counterparts, each of which shall be deemed to be
   Terms or any such agreement shall remain in full force and
                                                                     an original copy of these Business Terms and all of which,
   effect. Any provision of these Business Terms or any such
                                                                     when taken together, shall be deemed to constitute one
   agreement held invalid or unenforceable only in part or
                                                                     and the same agreement.

IN WITNESS WHEREOF, the parties to these Business Terms have caused these Business Terms to be signed and sealed on
the date last indicated below.

RHR:                                                             The Company:

                                                                 Fifth Third Bank



                                                                 Signature

Robert L. Pierce, Senior Partner,                    CFO          'lere,04 J .'1%n e..c
Print/Type Name and Title of Signatory                           Print/Type Name and Title of Signatory

Dated:   O 2/25/2016                                                          2...=J ..e:::
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Attention: Chief Financial Officer                               Attention: __________________
                                                                 Address:



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                         EXHIBIT 11
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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT CINCINNATI

Philip R. McHugh,

        Plaintiff,                                      Case No. 1:21-cv-00238

                v.                                      Judge Michael R. Barrett

Fifth Third Bancorp., et al.,

        Defendants.
                                               ORDER 1

        This matter is before the Court on Plaintiff’s Motion to Compel Production of

Documents Subpoenaed from Non-Party RHR International, LTD 2 (Doc. 40), RHR’s

response in opposition (Doc. 59), and Plaintiff’s reply (Doc. 61). Also before the Court is

RHR’s Motion for Leave to File a Sur-Reply (to Plaintiff’s reply (Doc. 61)) (Docs. 62, 63),

Plaintiff’s response in opposition (Doc. 64), and RHR’s reply (Doc. 65).

        Background.        Plaintiff served RHR (in Chicago, Illinois) with two subpoenas

issued from the Southern District of Ohio. See Fed. R. Civ. P. 45(a)(2) (“A subpoena

must issue from the court where the action is pending.”). The first, served on April 1,

2022, seeks 15 categories of documents that “relate[ ] to executive assessments

performed on [Timothy] Spence, [Philip] McHugh, and any other candidates for the


1
  Plaintiff Philip R. McHugh has sued Defendants Fifth Third Bancorp, Fifth Third Bank, N.A., and
Gregory D. Carmichael (collectively, “Defendants”) for violations of the Age Discrimination in Employment
Act, 29 U.S.C. § 621 et seq., as well as Ohio Rev. Code § 4112. (Doc. 9). His six-count Amended
Complaint includes federal and state law claims for failure to promote, wrongful termination, and
retaliation. (Id. ¶¶ 39–67). Defendants have filed a counterclaim (Doc. 10 PAGEID 1809–16) for abuse
of process under state common law (id. ¶¶ 31–41).
2
  RHR “is a consulting firm composed of behavioral scientists and practitioners. RHR applies behavioral
science to organizations to make those organizations, and the individuals who work there, more effective.
In 2020, Fifth Third Bank engaged RHR to assess Timothy Spence for the role of President and Chief
Executive Officer. RHR did not assess any other candidate, including McHugh. After completing its
assessment of Spence, RHR reported its findings to the Board of Directors of Fifth Third Bank.” (Doc. 59
PAGEID 2517).


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position of President or CEO of Fifth Third [Bank] between January 1, 2016 to the

present.” (Doc. 40 PAGEID 2367). The second, served on April 21, 2023 and after initial

director and bank employee depositions, seeks additional documents “specific to RHR’s

executive assessment work relating to Fifth Third[.]” (Id. PAGEID 2368). Both subpoenas

command that the documents be produced by either mail or email to Plaintiff’s counsel in

Cincinnati, Ohio.

          Law & Analysis. Plaintiff maintains that the documents subpoenaed from RHR

regarding its assessment of Timothy Spence at Fifth Third’s request are “clearly relevant”

to the litigation. Plaintiff further maintains that RHR’s “blanket objections” are meritless.

          Rule 45 governs non-party subpoenas. Two questions are presented here: one

concerning RHR’s place of production and, the other, RHR’s place of compliance.

          “A subpoena may command[            ] production of documents, electronically stored

information, or tangible things at a place within 100 miles of where the person resides,

is employed, or regularly transacts business in person[.]” Fed. R. Civ. P. 45(c)(2)(A)

(emphasis added). Plaintiff does not dispute that RHR’s headquarters, along with the

keeper of its records, are in Chicago, which is more than 100 miles from Cincinnati.

Plaintiff argues, however, that the 100-mile limit doesn’t apply when the subpoenas seek

electronic production of documents, such that no personal appearance is required. See

Atlas Indus. Contractors LLC v. In2Gro Tech. LLC, No. 2:19-cv-1815718, 2020 WL 1815718,

at *2 (S.D. Ohio Apr. 10, 2020); see also Pictsweet Co. v. R.D. Offutt Co., No. 3:19-cv-0722,

2020 WL 12968432, at *4 (M.D. Tenn. Apr. 23, 2020) (citing United States v. Brown, 223 F.

Supp. 3d 697, 703 (N.D. Ohio 2016)).              Because RHR can either mail or email the

documents subpoenaed from its headquarters, its place of production is Chicago.

          RHR disagrees with this construction. 3 RHR also points out that Plaintiff’s motion

3
    See Fed. R. Civ. P. 45(d)(2)(B) (A person commanded to produce documents “may serve on the party

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to compel was not filed in the correct district. See Fed. R. Civ. P. 45(d)(2)(B)(i) (Once an

objection is made, “the serving party may move the court for the district where

compliance is required for an order compelling production[.]”) (emphasis added).

According to RHR, the district “where compliance is required” is Chicago, which is located

within the Northern District of Illinois, Eastern Division. Plaintiff, on the other hand,

contends that the place of compliance is Cincinnati, as noted on the face of the

subpoenas.

        “Under the federal rules, as amended in 2013, a subpoena must be issued by the

court where the underlying action is pending, but challenges to the subpoena are to be

heard by the district court encompassing the place where compliance with the

subpoena is required.” Europlay Capital Advisory, LLC v. Does, 323 F.R.D. 628, 629

(C.D. Calif. 2018) (cleaned up) (emphasis added); see Thacker v. Ethicon, Inc., 572 F.

Supp. 3d 319, 322 (E.D. Ky. 2021) (citing Europlay); Whiteamire Clinic, P.A. Inc. v.

Cartridge World N. Am., LLC, No. 1:16CV226, 2021 WL 9124591, at *2 (N.D. Ohio Oct.

27, 2021). 4

        “The meaning of the phrase ‘the court for the district where compliance is required’

is ambiguous and has been interpreted differently.” Henry Schein, Inc. v. Drea, No. 4:21-


or attorney designated in the subpoena a written objection[.]”).
4
  In Atlas Indus., Magistrate Judge Vascura, seated in the Southern District of Ohio, Eastern Division,
highlights this requirement:

        Neither the parties nor [non-party] Plugout raise the related issue of the
        proper forum for this motion seeking compliance with a subpoena. Federal
        Rule of Civil Procedure 45(d)(2)(B)(i) states that such a motion should be filed with
        “the court for the district where compliance is required.” Because Plugout’s
        compliance would occur in New Jersey [at its primary place of business], Rule 45
        directs that I2G should have filed its motion with the United States District Court
        for the District of New Jersey. However, as this issue was not raised in any of the
        briefing, the undersigned proceeds to consider I2G’s motion.

2020 WL 1815718, at *2 n.3 (citation omitted) (emphasis added). Although dicta in that case, non-party
RHR obviously has raised the “related” issue here.

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cv-00192-RGE-HCA, 2022 WL 18584628, at *2–3 (S.D. Iowa May 31, 2022) (quoting

Merch. Consulting Grp., Inc. v. Beckpat, LLC, No. CV 17-11405-PBS, 2018 WL 4510269,

at *2 (D. Mass. July 11, 2018)). “[Some] courts look to the face of the subpoena to see

where compliance is required. Other courts reason that because Rule 45 notes that the

place of compliance must be ‘within 100 miles of where the person resides, is employed,

or regularly transacts business in person’, they have concluded that the place of

compliance is located where the subpoenaed party lives or works.” Id. (citations omitted).

The parties have cited no Sixth Circuit authority on this issue and the Court’s research

has found none.

      Having considered both views, the undersigned finds the “better approach” is to tie

the place of compliance to the location of the subpoenaed entity. See Raap v. Brier &

Thorn, Inc., No. 17-MC-3001, 2017 WL 2462823, at *3 (C.D. Ill. July 7, 2017) (one

purpose behind Rule 45 was to protect nonparties from having to adjudicate a dispute

over a subpoena in a distant forum) (citing Fed. R. Civ. P. 45, Advisory Committee Notes,

2013 Amendment (pertaining to Subdivision (f)); HI.Q, Inc. v. ZeetoGroup, LLC, No.

22cv1440-LL-MDD. 2022 WL 17345784, at *7–8 (S.D. Calif. Nov. 29, 2022) (citing Raap

& collecting other cases); Ortiz v. Harrell, No. 21-14219-CIV, 2022 WL 457856, at 3–4

(S.D. Fla. Feb. 14, 2022) (“For non-party corporations, courts find that ‘the place of

compliance’ is where a corporation is headquartered.”); Dou v. Carillon Tower/Chicago

LP, No. 18 CV 7865, 2020 WL 5502345, at *1–2 (N.D. Ill. Sept. 11, 2020 (citing Raap, “In

2013 Rule 45 was amended, in part to protect subpoena recipients. . . . To require . . .

non-parties to litigate disputes in a distant forum[ ] would defeat the amended rule’s

protective purpose.”). As one district court has recently—and thoughtfully—explained:

      In the decade since the current rules were enacted, a recurring
      scenario has arisen that has befuddled attorneys and split courts:
      determining the place of compliance for filing a motion to quash a

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    subpoena that on its face requires production of documents in a
    location (in this case, Nevada) that the subpoenaed nonparty argues
    is improper because the nonparty is located elsewhere (in this case,
    New Hampshire). Some courts have interpreted the place “where
    compliance is required” for purposes of filing a motion to quash to
    mean the location identified on the disputed subpoena for the
    document production, regardless of whether that place is not the
    location of the subpoenaed nonparty. See, e.g., Pizana v. Basic
    Research, LLC, No. 1:18-cv-00644-DAD-SKO, 2022 WL 1693317,
    at *2 (E.D. Cal. May 26, 2022) (collecting cases). These courts have
    reasoned that such a rule provides an easy answer to the issue and
    eliminates the need for intensive fact-finding as to this threshold
    issue, and that the place of compliance is technically the location
    identified on the subpoena unless and until the court determines
    otherwise. See, e.g., CSS, Inc. v. Herrington, 354 F. Supp. 3d 702,
    710 (N.D. Tex. 2017).

    Other courts have interpreted the place “where compliance is
    required” for a motion to quash a subpoena for the production of
    documents to mean the location of the subpoenaed nonparty,
    even if different than the location for the production of
    documents identified on the face of the subpoena. See HI.Q, Inc.
    v. ZeetoGroup, LLC, No. 22cv1440-LL-MDD, 2022 WL 17345784, at
    *7 (S.D. Cal. Nov. 29, 2022) (collecting cases); see also Europlay
    Capital Advisors, 323 F.R.D. at 629. These courts have reasoned
    that such an approach is consistent with the overall framework
    of the rule, which is designed to ensure local resolution of
    subpoena disputes as a means to protect the subpoenaed
    nonparty, a purpose that would be thwarted by requiring
    subpoenaed nonparties to adjudicate a subpoena-related
    dispute in a distant forum based solely on the face of the
    subpoena. See, e.g., Raap v. Brier & Thorn, Inc, No. 17-MC-3001,
    2017 WL 2462823, at *3 (C.D. Ill. July 7, 2017). This Court has
    already ruled elsewhere that the place of compliance for purposes of
    filing a motion to quash a subpoena must be tethered to the location
    of the subpoenaed person. See 4R4 Sons[, LLC v. Tru G. Wilhelm,
    Inc., No. 2:21-cv-01081-GMN-NJK], 2022 WL 2905468, at *4
    [D. Nev. July 22, 2022]; Agincourt Gaming, LLC v. Zynga, Inc., No.
    2:14-cv-0708-RFB-NJK, 2014 WL 4079555, at *4 (D. Nev. Aug. 15,
    2014); see also Lavoie v. Hyundai Motor Am., No. 2:22-cv-00628-
    GMN-VCF, 2022 WL 10632400, at *1–2 (D. Nev. Oct. 18, 2022)
    ;GBT Techs., Inc. v. Jackson, No. 2:20-cv-02078-APG-VCF, 2021
    WL 2418555, at *2 (D. Nev. June 14, 2021). The Court will continue
    to take that approach here.




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      Under the heading “Place of Compliance,” Rule 45(c) requires that
      document production via subpoena must occur within 100 miles of
      the location of the subpoenaed nonparty. See Fed. R. Civ. P.
      45(c)(2)(a); see also In re Outlaw Labs, LP Litig., No. 18cv840 GPC,
      2020 WL 5709386, at *2 S.D. Cal. Sept. 24, 2020 (“Rule 45(c)(2)(A)
      defines where compliance is required for production of documents or
      electronically stored information” (emphasis added)). The drafters of
      the current version of Rule 45 plainly intended this provision to not
      just be a basis to quash a non-compliant subpoena, but to also serve
      as the touchstone for determining which court should decide that
      motion to quash:

             To protect local nonparties, local resolution of disputes
             about subpoenas is assured by the limitations of Rule
             45(c) [requiring that the place of compliance be
             tethered to the location of the subpoenaed nonparty]
             and the requirements in Rules 45(d) and (e) that
             motions be made in the court in which compliance is
             required under Rule 45(c).

      Fed. R. Civ. P. 45(f), Advisory Committee Notes (2013) (emphasis
      added). Hence, the intent could not be clearer that the location
      of the subpoenaed nonparty, as identified in Rule 45(c), is meant
      to control which district is the place of compliance for the
      purpose of filing a motion to quash under Rule 45(d). While advisory
      committee notes are not necessarily the final answer in interpreting
      the text of the rules, they are an important tool in doing so. See
      Torres v. Oakland Scavenger Co., 487 U.S. 312, 316, 108 S.Ct.
      2405, 101 L.Ed.2d 285 (1988) (while views expressed by the
      advisory committee are “not determinative” of a rule's meaning, they
      are “of weight” in the judicial construction of the text of the rule); see
      also United States v. Vonn, 535 U.S. 55, 64 n.6, 122 S.Ct. 1043, 152
      L.Ed.2d 90 (2002) (explaining that the Advisory Committee Notes
      can “provide a reliable source of insight into the meaning of a rule”).
      With respect to the place for resolving subpoena-related
      disputes, it would eviscerate the entire purpose of these
      provisions in Rule 45 to interpret them as meaning that a
      subpoenaing party may force a subpoenaed nonparty to litigate
      a subpoena-related dispute in an inconvenient district by
      simply listing that location on the face of the subpoena. Raap,
      2017 WL 2462823, at *3.

York Holding, Ltd. v. Waid, 345 F.R.D. 626, 628–629 (D. Nev. 2024) (footnotes omitted)

(emphasis added).     True, York Holding involved a motion to quash filed by the

subpoenaed party (under Rule 45(d)(3)(A)) versus the circumstance here, where the

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subpoenaing party has filed a motion to compel (under Rule 45(d)(2)(B)(i)). No matter,

because the phrase “the district where compliance is required” appears (identically) in

both subsections.

        In sum, the Court determines that the place of compliance—for the purpose of filing

a motion to compel a non-party to produce documents—is the place where that non-party

is located. In this case, that place is Chicago, Illinois, not Cincinnati, Ohio. Accordingly,

this Court lacks authority to rule on the merits of Plaintiff’s motion. 5

        Conclusion. Plaintiff’s Motion to Compel Production of Documents Subpoenaed

from RHR International, LTD. (Doc. 40) is DENIED WITHOUT PREJUDICE. In turn,

RHR’s Motion for Leave to File a Sur-Reply in Response to Plaintiff’s Reply in Support of

his Motion to Compel (Doc. 62) is DENIED AS MOOT.

        IT IS SO ORDERED.

                                                                  /s/ Michael R. Barrett
                                                                  JUDGE MICHAEL R. BARRETT




5
  This Court rejects labeling the “place of compliance” analysis as a jurisdictional question “because that
issue focuses on a forum state’s power and notice to a potential witness, whereas Rule 45 focuses on the
burden to nonparties.” HI.Q, 2022 WL 17345784, at *7. See Fed. R. Civ. P. 82 (“The[ federal] rules do
not extend or limit the jurisdiction of the district courts or the venue of actions in those courts.”).

                                                    7
